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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA



      UNITED STATES OF AMERICA,                       )
                                                      )
                                  Plaintiff,          )    CASE NO. 21CR02483-001-JLS
                                                      )
                    v.                                )    ORDER
                                                      )
                         Jennifer Escalante           )
                                                      )
                                Defendant.            )
                                                      )


       Pursuant to a written request from the United States Probation Office, the sentencing date

presently set for December 17, 2021 is vacated and reset to February 11, 2022 at 11:00 a.m. .

       If the defendant is on bond, defense counsel is to file an acknowledgment of the next court

date by the defendant within a week of receipt of this order.



       DATED:        11/10/2021




                                                     Janis L. Sammartino
                                                     U.S. District Judge


cc: all counsel of record
